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Attorney for Plaintiffs

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

BLACKBIRD TECH LLC d/b/a
BLACKBIRD TECHNOLOGIES,

        Plaintiff,
                                                            C.A. No. _______________
v.
                                                            JURY TRIAL DEMANDED
ONTEL PRODUCTS CORPORATION,

        Defendant.


                          COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Blackbird Tech LLC d/b/a Blackbird Technologies (“Blackbird Technologies”)

hereby alleges for its Complaint for Patent Infringement against Defendant Ontel Products

Corporation (“Ontel”) on personal knowledge as to its own activities and on information and

belief as to all other matters, as follows:

                                              THE PARTIES

         1.      Plaintiff Blackbird Technologies is a New Jersey limited liability company with

its principal place of business located at 200 Baker Avenue, Suite 203, Concord, Massachusetts

01742.

         2.      On information and belief, Defendant is a New Jersey corporation with its

principal place of business located at 21 Law Drive, Fairfield, NJ 07004.
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                                   JURISDICTION AND VENUE

        3.       This is an action for patent infringement arising under the provisions of the Patent

Laws of the United States of America, Title 35, United States Code §§ 100, et seq.

        4.       Subject-matter jurisdiction over Blackbird Technologies’ claims is conferred upon

this Court by 28 U.S.C. § 1331 (federal question jurisdiction) and 28 U.S.C. § 1338(a) (patent

jurisdiction).

        5.       This Court has personal jurisdiction over Defendant because Defendant is subject

to general and specific jurisdiction in New Jersey. Defendant has also established minimum

contacts with this forum. The exercise of personal jurisdiction comports with Defendant’s right

to due process because, as described below, Defendant has purposefully availed itself of the

privilege of conducting activities within New Jersey such that it should reasonably anticipate

being haled into court here. As alleged herein, acts by Defendant in this District have caused

injury to Blackbird Technologies.

        6.       Defendant has been incorporated in New Jersey at all relevant times.

        7.       Defendant regularly conducts business in New Jersey, by marketing, selling,

and/or offering for sale accused electrical outlet cover through its brand websites, such as

www.buynight angel.com, which is accessible throughout the United States, including New

Jersey. Defendant’s accused products are available on other websites, such as amazon.com and

homedepot.com, accessible through the United States, including New Jersey, and in Home Depot

stores in New Jersey.

        8.       Venue is proper in this District pursuant to 28 U.S.C. § 1400(b) because

Defendant resides in New Jersey.




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                                   U.S. PATENT NO. 6,883,927

       9.      U.S. Patent No. 6,883,927 (the “’927 patent” or “patent-in-suit”) entitled, “Frame

Assembly and Light for an Electrical Wall Conduit,” was duly and legally issued by the U.S.

Patent and Trademark Office on April 26, 2005. Blackbird Technologies is the owner by

assignment of all right, title, and interest in and to the ’927 patent, including all right to recover

for any and all infringement thereof. The ’927 patent is valid and enforceable. A true and

correct copy of the ’927 patent is attached as Exhibit A.

                     COUNT I – INFRINGEMENT OF THE ‘927 PATENT

       10.     Blackbird Technologies reasserts and incorporates by reference the preceding

paragraphs of this Complaint as if fully set forth herein.

       11.     Defendant infringes one or more claims of the ‘927 patent, including at least

claim 17, by importing, making, using, selling, and/or offering to sell certain electrical wall

outlet covers, including the Night Angel product (see Ex. B).

       12.     The Night Angel, pictured below, infringes at least claim 17:




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(See Ex. B). As shown, the Night Angel includes a rectangular frame (the outlet cover), though

which a component (the electrical outlets) is accessible. The Night Angel further includes a light,

wherein the rectangular frame has a side (the bottom side) of sufficient depth to house the

light(s), and wherein the (bottom) side has an aperture for allowing the light to illuminate outside

the frame through the aperture. The light in the Night Angel comprises a plurality light emitting

diodes (LEDs). Also included are a series of side apertures, and each LED extends into its

respective side aperture.

       13.     Blackbird Technologies has sustained damages as a direct and proximate result of

Defendant’s infringement of the ’927 patent.

       14.     As a consequence of Defendant’s past infringement of the ’927 patent, Blackbird

Technologies is entitled to the recovery of past damages in the form of, at a minimum, a

reasonable royalty.



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       15.     As a consequence of Defendant’s continued and future infringement of the ’927

patent, Blackbird Technologies is entitled to royalties for its infringement of the ’927 patent on a

going-forward basis.

                                      PRAYER FOR RELIEF

       WHEREFORE, Blackbird Technologies respectfully requests that this Court enter

judgment against Defendant, as follows:

       A.      Adjudging that Defendant has infringed at least claim 17 of the ’927 patent, in

violation of 35 U.S.C. § 271(a);

       B.      An award of damages to be paid by Defendant adequate to compensate Blackbird

Technologies for Defendant’s past infringement and any continuing or future infringement up

until the date such judgment is entered, and in no event less than a reasonable royalty, including

interest, costs, and disbursements pursuant to 35 U.S.C. § 284 and, if necessary to adequately

compensate Blackbird Technologies for Defendant’s infringement, an accounting of all

infringing sales including, but not limited to, those sales not presented at trial;

       C.      Ordering Defendant to continue to pay royalties to Blackbird Technologies for

infringement of the ’927 patent on a going-forward basis;

       D.      Adjudging that this case be exceptional under 35 U.S.C. § 285 and awarding

enhanced damages, including costs and attorneys’ fees, to Blackbird Technologies;

       E.      Awarding Blackbird Technologies pre-judgment and post-judgment interest at the

maximum rate permitted by law on its damages; and

       F.      Granting Blackbird Technologies such further relief as this Court deems just and

proper under the circumstances.




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                                DEMAND FOR JURY TRIAL

      Blackbird Technologies demands a trial by jury on all claims and issues so triable.



Dated: August 23, 2017                         STAMOULIS & WEINBLATT LLC

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